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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

FEDERAL DEPOSIT INSURANCE

CORPORATION,

550 17th Street, NW

Washington, D.C. 20429, Case No. 1:17-cv-36-EGS
Plaintiff,

Vv. JURY TRIAL DEMANDED

BANK OF AMERICA, N.A.,
101 South Tryon Street
Charlotte, N.C. 28202,

Defendant.

 

 

FIRST AMENDED COMPLAINT (REDACTED)

Plaintiff, the Federal Deposit Insurance Corporation (“FDIC”), for its First Amended

Complaint against Bank of America, N.A. (“Bank of America’), alleges as follows:
INTRODUCTION

1. Bank of America owes the FDIC $1.12 billion in assessments for deposit
insurance that it refuses to pay. Because Bank of America refuses to pay, the FDIC seeks relief
from this Court.

2. The FDIC administers the Deposit Insurance Fund, which insures deposits of up
to $250,000 per depositor at insured banks. Since the FDIC was established in 1933, thousands
of insured institutions have failed, but no depositor has lost a single cent of FDIC-insured funds.
The Deposit Insurance Fund is fundamental to the FDIC’s mission to maintain stability and
public confidence in the nation’s banking system. FDIC-insured institutions, like Bank of

America, are responsible for funding the FDIC’s Deposit Insurance Fund.
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3. The Deposit Insurance Fund was established pursuant to the Federal Deposit
Insurance Act, 12 U.S.C. §§ 1811 et seg. (FDI Act”). The FDIC imposes quarterly assessments
on insured depository institutions to finance the Deposit Insurance Fund. Under Section 7 of the
FDI Act, 12 U.S.C. § 1817, the FDIC is required to establish, by regulation, a risk-based
assessment system. The FDIC’s assessment system is risk-based so that riskier institutions—i.e.,
institutions that are more likely to fail—pay more for deposit insurance than safer institutions.

4, As authorized by law, the FDIC created, by regulation, separate risk-based
assessment systems for large and small insured depository institutions. Under the FDIC’s
regulations, the largest and most highly complex institutions (“HCIs”), like Bank of America, are
subject to a particular risk-based assessment system.

5. The FDIC determines an institution’s risk profile—and thus the assessments the
institution owes—using financial information self-reported and certified by that institution in
accordance with FDIC regulations and reporting instructions. Because the FDIC relies on an
institution’s reporting of its own financial information, it is legally required and imperative that
the institution truthfully report the information the FDIC needs.

6. One of the key indicators of risk for an HCI is the extent to which its exposure to
counterparties is concentrated. The greater the concentration, the greater the chance that default
by, or financial distress at, one or more counterparties could lead to the HCI’s failure, which
could cause a very large loss to the Deposit Insurance Fund. To ensure that this concentration
risk factor is measured properly, the FDIC requires that large HCIs like Bank of America report
their counterparty exposures at the “consolidated entity level’ rather than at the individual entity
level. This means that if Bank of America has significant exposures to two affiliated

counterparties, then Bank of America must consolidate the exposures to these two affiliates and
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treat them as a single exposure to the top-tier parent of these affiliates, rather than separately
report the exposures to each individual affiliated counterparty.

7. From the first quarter of 2012 through the fourth quarter of 2014, the amounts
Bank of America reported to the FDIC substantially understated its counterparty exposure.
During this period, Bank of America ignored the FDIC’s instruction that it report counterparty
exposures at the “consolidated entity level.” In fact, it did not consolidate amy of its counterparty
exposures at all. (Bank of America’s underreporting of its counterparty exposures actually dates
back to the second quarter of 2011, but for reasons discussed below, only the first quarter of
2012 through the fourth quarter of 2014 are at issue here.)

8. Given Bank of America’s size and sophistication, its failure to report accurately
its counterparty exposures to the FDIC is noteworthy. Out of all of the HCIs subject to the
FDIC’s reporting requirement—all of which are, like Bank of America, large sophisticated
financial institutions—Bank of America is the only one that failed to consolidate its counterparty
exposures in any manner whatsoever.’ This failure is particularly conspicuous given that Bank
of America’s parent company, when faced with an identical reporting instruction from another
government regulator, reported the consolidated counterparty exposures properly, and the same
group was responsible for the regulatory reporting at both Bank of America and Bank of
America’s parent company.

9. Despite additional misrepresentations by the Bank, the FDIC learned the full

extent of Bank of America’s reporting failure in 2016. For example, [I

 

| The eight other HCIs are: (1) Bank of New York Mellon; (2) Citibank, N.A.; (3) Goldman
Sachs Bank USA; (4) JP Morgan Chase Bank, N.A.; (5) Morgan Stanley Bank, N.A.; (6) The
Northern Trust Company; (7) State Street Bank and Trust Company; and (8) Wells Fargo Bank,
N.A.
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10. In December 2016, Bank of America finally provided the FDIC with spreadsheets
that it represented contained correct counterparty exposure information necessary for the FDIC
to assess Bank of America properly for quarters earlier than the first quarter of 2015.

11. On December 15, 2016, the FDIC invoiced Bank of America for $542 million that
it owes for the second quarter of 2013 through the fourth quarter of 2014. On March 8, 2017, the
FDIC invoiced Bank of America for an additional $583 million that it owes for the first quarter
of 2012 through the first quarter of 2013. These two invoices total $1.12 billion.

12. Bank of America has refused to pay these two invoices, which are past due.

13. All told, by underreporting its counterparty exposures, Bank of America evaded
$1.12 billion in assessments that it should have paid into the Deposit Insurance Fund for 2012—
2014.

14. The FDIC’s deposit insurance safeguards hundreds of billions of dollars for Bank
of America’s depositors. As of December 31, 2016, Bank of America was estimated to have
$716 billion in insured deposits. This deposit insurance is exceedingly valuable to Bank of
America, as it helps Bank of America keep its existing customers and recruit new customers. By

avoiding $1.12 billion in assessments, Bank of America was able to maintain deposit insurance
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on hundreds of billions of dollars for its customers without paying its fair share (7.e., the full
amount of required assessments) for that insurance.

15. The FDIC, in its decades of experience administering the Deposit Insurance Fund,
has never before encountered a reporting failure that has caused such a large underpayment of
assessments—and especially has never had a financial institution refuse to pay such a large
amount once the reporting failure came to light and revised assessments were imposed. This
action is to recover the $1.12 billion in unpaid assessments that Bank of America owes to the
Deposit Insurance Fund but refuses to pay.

THE PARTIES

16. The FDIC is a government corporation and instrumentality of the United States of
America headquartered at 550 17th Street, NW, Washington, D.C. 20429. The FDIC brings this
suit in its corporate capacity. As of December 31, 2016, the FDIC provides deposit insurance to
5913 banks and savings associations. It also directly examines and supervises almost 3800
commercial banks and savings institutions for operational safety and soundness.

17. Defendant Bank of America is a national banking association whose principal
place of business is in Charlotte, North Carolina. Bank of America has operations in all 50
states, the District of Columbia, and more than 35 countries. Bank of America has 29 banking
centers and 99 ATMs in the District of Columbia.

JURISDICTION AND VENUE

18. This Court has subject-matter jurisdiction under 12 U.S.C. § 1819, 28 U.S.C.
§ 1331, 28 U.S.C. § 1345, and 28 U.S.C. § 1367.

19. This Court has personal jurisdiction over Bank of America, which at all relevant

times conducted business in the District of Columbia.
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20. Venue is proper pursuant to 28 U.S.C. § 1391 because Bank of America resides in

the District of Columbia by virtue of the business it conducts here.
FACTUAL ALLEGATIONS

A. Bank of America Benefits from the FDIC’s Deposit Insurance.

21. The FDIC insures the balance of each depositor’s account at each insured
institution up to $250,000. If an institution fails, the FDIC ensures that the institution’s
depositors have timely access to their insured deposits. Ultimately, if the assets of the failed
institution are insufficient to return all insured deposits in full, the FDIC pays the shortfall from
its Deposit Insurance Fund. No depositor in an FDIC-insured institution has ever lost a cent of
an insured deposit. This insurance gives depositors confidence that the insured money they
deposit with thousands of FDIC-insured institutions across the country is safe.

22. Bank of America’s deposits are its lifeblood, so it is a particularly significant
beneficiary of the FDIC’s Deposit Insurance Fund. It has described itself publicly as having “the
largest retail deposit share in the U.S.°? As of December 31, 2016, Bank of America held
approximately $1.26 trillion in domestic deposits—of which an estimated $716 billion were
insured deposits.

23. Deposit insurance affords Bank of America the benefit of being able to offer
customers deposit accounts that are insured against loss in the event of failure. This allows Bank
of America to attract new customers and keep existing ones. The security of having deposits
insured also helps Bank of America prevent a “bank run,” during which a panic about Bank of

America’s solvency could lead to queues of people seeking to withdraw their money.

 

? See BANK OF AMERICA CORPORATION 2015 ANNUAL REPORT at 3 (March 2016), available at
http:/Avww.banktrack. org/download/annual report 2015 pdf/annual report 2015.pdf.
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B. The Deposit Insurance Fund Is Funded Through Risk-Based Assessments on
Insured Depository Institutions.

24. As required by the FDI Act, the FDIC funds the Deposit Insurance Fund with
assessments collected from FDIC-insured institutions. The FDIC uses a risk-based approach to
determine the amount of an institution’s assessments. Specifically, in addition to assessing the
revenue needs of the Deposit Insurance Fund, the FDIC calculates the amount each institution
should pay based on its risk profile, including the probability of failure and the potential amount
of loss to the Deposit Insurance Fund if the institution fails.

25. As authorized by law, the FDIC has created separate risk-based assessment
systems for large and small insured depository institutions. Bank of America is a large bank, and
more specifically, is one of nine HCIs with insured deposits. Bank of America is thus subject to
the assessment system for HCIs.

26. An HCI is: (1) an insured depository institution, with the exception of a credit
card bank, that has had $50 billion or more in total assets for at least four consecutive quarters
that is either controlled by a U.S. parent holding company that has had $500 billion or more in
total assets for four consecutive quarters, or is controlled by one or more intermediate U.S.
parent holding companies that are controlled by a U.S. holding company that has had $500
billion or more in assets for four consecutive quarters; or (2) a processing bank or trust company.
See 12 C.F.R. § 327.8(g)(1).

27. Due to the structural and operational complexity of HCIs, these institutions pose
unique challenges and risks if they fail. HCIs hold over $4 trillion in domestic deposits
nationwide, which include approximately $2 trillion in estimated insured deposits. In
Washington, D.C., there were approximately $46 billion in deposits as of June 30, 2016, of

which over $22 billion (or nearly half) were held by HCIs.
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28. Even among these HCIs, Bank of America stands out: it has the largest amount of
domestic deposits, approximately $1.26 trillion as of December 31, 2016, and approximately $11
billion of the deposits in Washington, D.C. (as of June 30, 2016)—almost 25 percent of all of the
deposits at insured institutions in this jurisdiction. Accurately measuring the large risks
concentrated among the few HCIs, including Bank of America, is critically important to the
viability of the Deposit Insurance Fund.

29. To assess the risk each HCI poses to the Deposit Insurance Fund, the FDIC uses
financial information self-reported by each insured institution. Each quarter, every insured
institution files a Consolidated Report of Condition and Income, or “Call Report,” with the
Federal Financial Institutions Examination Council (a council of financial regulators that
includes the FDIC).

30. The FDIC inputs the information that HCIs submit in their Call Reports into a
scorecard that uses a number of metrics to determine the amount each HCI should be assessed.
These metrics include each HCI’s ability to withstand asset-related stress. The score for the
ability to withstand asset-related stress is a weighted average of four measures. One of these
scores is for the “concentration measure,” which is the highest score (as determined under the
scorecard) of the following ratios: (1) the sum of the reporting HCI’s total exposures to its largest
20 counterparties divided by Tier 1 capital (a measure of regulatory capital) and reserves; (2) the
amount of the reporting HCI’s exposure to the largest counterparty divided by Tier 1 capital and
reserves; and (3) the reporting HCI’s total amount of higher-risk assets divided by Tier 1 capital
and reserves. 12 C.F.R. § 327.9(b)(2).

31. The FDIC relies upon the data each HCI submits in the Call Report. By statute,

each Call Report must contain two certifications as to its accuracy. First, the Call Report “shall
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contain a declaration by the president . . . or by any other officer designated by the board of
directors or trustees of the reporting depository institution to make such declaration, that the
report is true and correct to the best of his knowledge and belief,” 12 U.S.C. § 1817(a)(3).
Second, “[t]he correctness of said report of condition shall be attested by the signatures of at
least two directors or trustees of the reporting depository institution other than the officer making
such declaration.” Jd.

C. HCIs Must Report The Amounts of Their Counterparty Exposures at the
Consolidated Entity Level.

32. The FDIC first implemented the regulatory regime for calculating HCI
assessments through a final rule promulgated, following notice and comment, in February 2011
(the “2011 Final Rule”). See 75 Fed. Reg. 23516 (May 3, 2010), 75 Fed. Reg. 72612, 72613
(Nov. 24, 2010); 76 Fed. Reg. 10672, 10674 (Feb. 25, 2011). During the comment period, Bank
of America did not comment on the Rule’s requirement that HCIs report the amount of their
counterparty exposures in Schedule RC-O at the “consolidated entity level,” even though it had
the opportunity to do so.

33. The 2011 Final Rule provides that each HCI must report its two counterparty
exposure measures “at the consolidated entity level” as follows:

Top 20 Counterparty Exposure/Tier 1 Capital and Reserves ... Sum of the total

exposure amount to the largest 20 counterparties (in terms of exposure amount)

divided by Tier 1 capital and reserves. Counterparty exposure is equal to the sum

of Exposure at Default (EAD) associated with derivatives trading and Securities

Financing Transactions (SFTs) and the gross lending exposure (including all

unfunded commitments) for each counterparty or borrower at the consolidated

entity level.

Largest Counterparty Exposure/Tier 1 Capital and Reserves ... The amount of

exposure to the largest counterparty (in terms of exposure amount) divided by

Tier 1 capital and reserves. Counterparty exposure is equal to the sum of

Exposure at Default (EAD) associated with derivatives trading and Securities
Financing Transactions (SFTs) and the gross lending exposure (including all
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unfunded commitments) for each counterparty or borrower af the consolidated
entity level.

76 Fed. Reg. 10672, 10721 (Feb. 25, 2011) (emphasis added).

34. In accordance with the 2011 Final Rule, in Schedule RC-O of the Call Report,
each HCI must report the amount of its largest counterparty exposure and the total amount of its
top 20 largest counterparty exposures. Schedule RC-O Memorandum Items 14 and 15 appear as

follows:

 

Memorandum items 14 and 15 are to be completed by "highly complex institutions" as defined in
FDIC reguiations.

 

14. Amount of the institution's largest counterparty exposure ............0 oes. [K673] M.14.
15. Total amount of the institution's 20 largest counterparty exposures... [| KE7A| M15.

 

 

 

 

33, It bears emphasizing that Schedule RC-O of the Call Report requires each HCI to
report only the amounts of its counterparty exposures, and not the identities of its counterparties.
As a result, a person reviewing a Call Report cannot know from the Call Report itself which
counterparties the HCI used when calculating the total amount of counterparty exposures, and
thus cannot know when the HCI understated the total amount of its counterparty exposures by
calculating the amount based on the wrong list of counterparties. While HClIs are not required to
explain in the Call Report how they computed the amounts reported or to provide the underlying
data that corroborates them, they are required to keep records supporting their calculations. And,
of course, they are required to certify that their Call Reports are accurate.

36. In December 2011, the FDIC again informed the HCIs that:

for the purposes of calculating deposit insurance premiums, highly complex

institutions should report counterparty credit exposure on a consolidated entity

basis (legal consolidated entity). The FDIC believes that highly complex

institutions should have the ability to aggregate exposures arising from financial

contracts with entities within a legal consolidated entity and report the exposure

as outlined in the final rule.

76 Fed. Reg. 77315, 77322 (Dec. 12, 2011) (emphasis added).

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37. The instruction to report “at the consolidated entity level’? means that exposures to
counterparties that are affiliates of one another must be consolidated at the top-tier parent level
of each counterparty. As an example, if an HCI has exposures to affiliated counterparties A, B,
and C, the HCI must consolidate the exposures to A, B, and C, treating the three affiliated
counterparties as a single entity, rather than as three separate entities. Furthermore, if
counterparty D is also affiliated with A, B, and C, but the HCI’s exposure to D is not, by itself,
among its top 20 largest counterparty exposures, the HCI must still consolidate its exposure to D
with its exposures to A, B, and C. Thus, when tallying the total amount of its top 20
counterparty exposures, the HCI would include its exposures to A, B, C, and D (all of which
form a single counterparty exposure), as well as its 19 other largest counterparty exposures (each
of which is also calculated at the consolidated-entity level). By contrast, the HCI would violate
the 2011 Final Rule if it failed to consolidate its exposures to A, B, C, and D when calculating
the total amount of its top 20 counterparty exposures.

38. Failing to consolidate counterparty exposures can cause an understatement not
only of the total amount of an HCI’s top 20 counterparty exposures but also of the total amount
of its largest single counterparty exposure. For example, if an HCI has exposures to affiliated
counterparties A, B, and C, and the exposure to A is, by itself, the HCI’s largest single
counterparty exposure, the HCI will understate the total amount of its largest counterparty
exposure if it reports its exposure only to A and notto A+B+C.

39. Measuring concentration of counterparty exposures at the consolidated entity
level helps ensure that the FDIC adequately captures the HCI’s concentration of counterparty
exposures, because the risks posed by counterparties that are affiliates of each other are generally

correlated; that is, if one counterparty defaults, the risk that its affiliates will also default

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increases. An HCI’s failure to report its counterparty exposures at the consolidated entity level
understates the concentration risk that the FDIC is required by law to measure.

40. Accurately measuring the risks posed by each HCI’s concentration of large
exposures to a handful of consolidated entities is critically important to the viability of the
Deposit Insurance Fund. As the FDIC explained in the rulemaking: “recent experience shows
that the concentration of a highly complex institution’s exposures to a small number of
counterparties—either through lending or trading activities—significantly increase[s] the
institution’s vulnerability to unexpected market events.” 76 Fed. Reg. 10672, 10696 (Feb. 25,
2011). Thus, “[t]he FDIC uses the top 20 counterparty exposure and the largest counterparty
exposure to capture this risk.” Jd.

41. The FDIC subsequently modified the 2011 Final Rule through notice-and-
comment procedures in 2012 and 2014, although the requirement that HCIs report counterparty
exposure at the consolidated entity level never changed. 77 Fed. Reg. 66000 (Oct. 31, 2012); 79
Fed. Reg. 70427 (Nov. 26, 2014).

D. Bank of America Failed to Report Counterparty Exposures at the
Consolidated Entity Level.

42. Unknown to the FDIC, and contrary to the requirement in the 2011 Final Rule,
Bank of America never consolidated its counterparty exposures when reporting the amounts of
its counterparty exposures in any of its Call Reports for the second quarter of 2011 through the
fourth quarter of 2014. Because the FDIC relied on Bank of America’s Schedule RC-O
submissions, which Bank of America certified were true and correct, the FDIC was—until
2016—unaware that Bank of America was not reporting consolidated counterparty exposures on

Schedule RC-O as required by the 2011 Final Rule.

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43. Bank of America’s failure to report its consolidated counterparty exposures dates
back to the second quarter of 2011—which is when the 2011 Final Rule first took effect.
However, for the second quarter of 2011 through the fourth quarter of 2011, Bank of America

would not have owed additional assessments if it had properly reported its counterparty

exposures because Sie

1. Bank of America Failed to Report its Largest Counterparty at the
Consolidated Entity Level.

44, During the operative time period, Bank of America’s single largest counterparty
exposure was op SI DDD ee = ather than
consolidating its counterparty exposures, Bank of America never reported its exposures to
at the consolidated entity level in any of its Call Reports for the second quarter of 2011 through
the fourth quarter of 2014.

45. Instead, when filing tts Call Reports, Bank of America improperly treated J
and each of JBN subsidiaries to which Bank of America had exposure as separate
counterparties of Bank of America.

46. As the FDIC now knows, had Bank of America performed the consolidation
required by the 2011 Final Rule, the amount of Bank of America’s consolidated exposure to
BB would have been significantly greater.

47. For example, for the fourth quarter of 2014, Bank of America separately reported

counterparty exposures for |
ES even though all three

entities are subsidiaries of J The result was that Bank of America reported its largest

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counterparty exposure to be ab0tt ET Iad Bank of

America properly consolidated these four counterparty exposures and reported them as a total
exposure at the consolidated entity level (at the J level), it would have reported a largest
counterparty exposure of about J for that quarter—almost three times the amount it
actually reported for its largest counterparty exposure. And the identity of the largest
counterparty would have becn 3 I DD DDT!

48. Bank of America’s failure to consolidate its counterparty exposure to Jj with
its exposures to JR) subsidiaries by itself resulted in the additional $1.12 billion in

assessments for the twelve quarters at issue here (first quarter of 2012 through the fourth quarter

of 2014). Accordingly, even under [is
EE

of America would still owe $1.12 billion related to its failure to consolidate its contractual

exposure {0 [lll

2. Bank of America Failed to Report its Top 20 Counterparty Exposures at the
Consolidated Entity Level.

49. In every quarter from the second quarter of 2011 through the fourth quarter of
2014, Bank of America also failed to report correctly the total amount of its top 20 largest
counterparty exposures.

50. For example, in the third quarter of 2013, Bank of America reported that the sum
of its top 20 counterparty exposures was approximately | Had Bank of America
consolidated its counterparty exposures and reported at the consolidated entity level as required,
it would have reported a top 20 counterparty exposure sum of about I) Bank of
America also would have reported a counterparty exposure sum that included exposures to six

additional entities, as six of the counterparties whose exposures were included in the top 20

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counterparty exposure sum would not have occupied six separate spots in the top 20 counterparty
exposure sum, but would have been consolidated with affiliated counterparties and reported in a
single spot. As a result, Bank of America underreported the total amount of its top 20
counterparty exposures by over J and effectively reported, at most, only the sum of its
top 14 “unconsolidated” counterparty exposures, rather than the sum of its top 20 as required.

KE. Among the Nine HCIs, Bank of America Alone Failed to Report at the
Consolidated Entity Level.

31. The 2011 Final Rule and its requirement to consolidate counterparty exposures at
the “consolidated entity level” applied to all nine HCIs.

52. For the 12 quarters at issue here, Bank of America is the only HCI that failed to
consolidate its counterparty exposures in any manner whatsoever when reporting the total
amounts of its counterparty exposures in its Call Reports.

F. Bank of America’s Holding Company Interprets “Consolidated Entity
Level” Correctly in a Directly Analogous Context.

53. In 2008, three years before the FDIC promulgated the 2011 Final Rule at issue
here, the Federal Reserve Bank of New York (“FRBNY”) instituted its “Top 20° Counterparty
Project. As with the 2011 Final Rule, the goal of the Project was to assess accurately the
counterparty exposure risk presented “when a firm operates through many of its own legal
vehicles, which in turn conduct business with many external entities, including some that may

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ultimately be owned by or affiliated with the same counterparty.” A key component of the Top

 

> Senior Supervisors Group, Progress Report on Counterparty Data, January 15, 2014, at 1,
available at https://www.newyorkfed.org/medialibrary/media/newsevents/news/banking/20 14/
SSG Progress Report on Counterparty January2014.pdf.

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20 Counterparty Project was ensuring that financial institutions could “quickly and accurately
aggsregat[e] counterparty exposures.” /d.

54. Like the FDIC’s 2011 Final Rule, the FRBNY Top 20 Counterparty Project
required reporting entities (in this case the HCI holding companies) to report counterparty
exposures at the “consolidated entity level” in order to capture the “full credit relationship to
[each holding company’s] largest counterparties.”

55. The instruction was identical—and was the model the FDIC used three years later
when it promulgated the 2011 Final Rule for reporting HCI counterparty exposures. As with the
2011 Final Rule, the objective of the Top 20 Project data collection initiative of the FRBNY was
to provide regulators with information about concentrations of exposures among large firms,
particularly with respect to large firms’ exposures to each other and to common counterparties.

56. Beginning in 2008, Bank of America’s parent company, Bank of America
Corporation (“BAC”), participated in the FRBNY program. For the FRBNY program, BAC
consolidated its counterparty exposures at the top-tier level of each counterparty. In other words,
interpreting the identical instruction—that counterparty exposures be reported at the
“consolidated entity level”’—Bank of America’s holding company did it the right way for the
FRBNY, while Bank of America did it the wrong way for the FDIC.

G. The Same Group at Bank of America Properly Reported Its Counterparty

Exposures at the Consolidated Entity Level to the FRBNY But Wrongly
Reported Them to the FDIC.

57, Both Bank of America and BAC used the same risk systems to identify and report
counterparty exposure risk, and the same group within Bank of America was responsible for the
regulatory reporting for both entities.

58. Thus, the same group that correctly understood “consolidated entity level” in the

FRBNY’s program as requiring BAC to consolidate counterparty exposures at the parent-
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company level when reporting the total amount of its top 20 counterparty exposures starting in
2008 (and continuing to this day) decided not to consolidate Bank of America’s counterparty
exposures at the top-tier parent level when faced with the FDIC’s materially identical reporting
requirement starting in 2011.

59, This decision was made despite the fact that the FDIC always had a hotline
available that Bank of America could have called at any time if it needed clarification as to how
to correctly report its counterparty exposures pursuant to the 2011 Final Rule. Bank of America

also could have emailed the FDIC about these issues at RRPSadministrator(a@fdic.gov or

 

Assessments(@fdic.gov. Bank of America never emailed or called the hotline to clarify any
uncertainty it may have had regarding how to report at the “consolidated entity level.”

60. By failing to consolidate its counterparty exposures at the parent-company level,
Bank of America was able to evade assessments of $1.12 billion.

H. Bank of America Refuses to Pay What it Owes.

61. In April 2016, the FDIC’s Large Bank Pricing Section initiated an off-site review
of Bank of America as part of its efforts to ensure that all nine HCIs were complying with
official reporting requirements.

62. During the course of this review, the FDIC asked Bank of America to provide,
within 30 days, supporting details for the counterparty exposure amounts reported for the fourth
quarter of 2015.

63. In May 2016, Bank of America submitted a written response conceding that it had
failed to treat exposures to counterparties that are affiliates of each other as exposures to one
counterparty. Bank of America acknowledged that this error understated the exposure amounts it

reported for both its largest counterparty and its top 20 counterparty exposures. Due to this error,

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Bank of America informed the FDIC that it was revising the Schedule RC-O items in its Call
Reports for all four quarters of 2015 and the first quarter of 2016.

64. In June 2016, Bank of America filed amended Call Reports correcting its
Schedule RC-O counterparty exposures for the first quarter of 2015 through the first quarter of
2016. These amendments reflected that Bank of America’s underreporting of its counterparty
exposures had enabled it to avoid assessments of $100 million from the first quarter of 2015
through the first quarter of 2016.

65. Subsequently, in December 2016, Bank of America for the first time provided the
FDIC with spreadsheets that it represented had correct counterparty exposure data for quarters
earlier than the first quarter of 2015. This new information enabled the FDIC to invoice Bank of
America for new assessments to make up the difference for what Bank of America had avoided
paying by improperly reporting its counterparty exposures for the first quarter of 2012 through
the fourth quarter of 2014. That new data showed that, had Bank of America properly reported
its counterparty exposures as instructed by the 2011 Final Rule, its risk profile would have
resulted in $1,120,563,178.49 in additional assessments for the 12 quarters at issue here.

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68. Every Call Report that Bank of America submitted for the first quarter of 2012
through the fourth quarter of 2014 was certified as true and correct pursuant to 12 U.S.C.
§ 1817(a)G3), despite the fact that Bank of America did not consolidate its counterparty
exposures at the consolidated entity level in any of the Call Reports it submitted.

69. For the quarters at issue, Bank of America has not made any effort to amend and
re-certify its Call Reports such that they comport with the 2011 Final Rule.

70. On December 15, 2016, and March 8, 2017, the FDIC invoiced Bank of America
in the amount of $1,120,563,178.49 in assessments for the first quarter of 2012 through the
fourth quarter of 2014, plus interest in the amount of $4,906,268.56 based on the revised data it
had received about Bank of America’s actual counterparty exposures in that period.

71. These amounts are past due and Bank of America has refused to pay them.

CLAIMS
COUNT ONE
Failure to Pay Mandatory Assessments as Required by 12 U.S.C. § 1817

72. The FDIC incorporates by reference each of the allegations set forth above.

73. Bank of America underreported its counterparty exposures by failing to
consolidate its counterparty exposures at the consolidated entity level when reporting the total

amount of its largest counterparty exposure and of its top 20 counterparty exposures.

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74. The group in Bank of America that is responsible for complying with the FDIC’s
reporting requirement decided not to report its counterparty exposures at the consolidated entity
level even though the same group, when faced with an identical reporting requirement for Bank
of America’s parent company, reported properly the parent company’s counterparty exposures at
the consolidated entity level.

75. As a direct and proximate result of its underreporting, Bank of America evaded
assessment fees of $1.12 billion for the first quarter of 2012 through the fourth quarter of 2014.

76. On December 15, 2016, the FDIC invoiced Bank of America for the revised
assessments for the second quarter of 2013 through the fourth quarter of 2014.

77. The invoiced amount for those revised assessments was $541,997,517.66.

78. Bank of America received the December 15, 2016, invoice.

79. The revised assessments were correctly calculated based on the revised data Bank
of America provided to the FDIC in December 2016.

80. The due date for payment of this invoice was December 30, 2016.

$l. Bank of America failed to pay any portion of the revised assessments it owes.

82. To this day, Bank of America has not made any payment toward the revised
assessments for the second quarter of 2013 through the fourth quarter of 2014.

83. Qn March 8, 2017, the FDIC invoiced Bank of America for the revised
assessments for the first quarter of 2012 through the first quarter of 2013.

84. The invoiced amount for those revised assessments was $583,471,929.39.

85. Bank of America received the March 8, 2017, invoice.

86. The revised assessments were correctly calculated based on the data Bank of

America provided to the FDIC.

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87, The due date for payment of this invoice was March 30, 2017.

88. Bank of America failed to pay any portion of the revised assessments it owes.

89, To this day, Bank of America has not made any payment toward the revised
assessments for the first quarter of 2012 through the last quarter of 2014.

90. In accordance with 12 U.S.C. § 1817(g), the FDIC is entitled to recover the past
due assessments owed by Bank of America.

COUNT TWO
Unjust Enrichment

91. The FDIC incorporates by reference each of the allegations set forth above.

92. Bank of America has unjustly enriched itself at the expense of the FDIC by
retaining $1.12 billion that it owes the FDIC.

93. Furthermore, Bank of America benefited by being able to offer insured accounts
to its depositors despite not paying its fair share of assessments.

94, The FDIC is entitled to disgorgement and/or a constructive trust equal to the

amount Bank of America was unjustly enriched.

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PRAYER FOR RELIEF

WHEREFORE, the FDIC prays that final judgment be entered against Bank of America

declaring, ordering, and adjudging that:

a.

Bank of America violated the obligation imposed by 12 U.S.C. § 1817 and the 2011
Final Rule;

Bank of America underpaid for its FDIC insurance by $1.12 billion;

Bank of America must pay the FDIC the full amount it owes, including interest,
prejudgment interest, and costs of this action;

Bank of America was unjustly enriched as a result of its actions;

Bank of America must disgorge the amount that it was unjustly enriched by
underpaying for its FDIC insurance;

the imposition of a constructive trust equal to the amount Bank of America was
unjustly enriched; and

such other relief as may be appropriate and as the Court may deem just and proper.

JURY DEMAND

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the FDIC respectfully

demands a trial by jury for all issues in this case that are so triable.

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DATED: April 7, 2017

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